                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO

In re:
ROMAN CATHOLIC CHURCH OF                                     Case No. 18-13027-t11
THE ARCHDIOCESE OF SANTA FE, a New Mexico
Corporation Sole

       Debtor.

     VERIFIED SUPPLEMENTAL DISCLOSURE OF SARA N. SANCHEZ IN
CONNECTION WITH DEBTOR’S APPLICATION FOR AN ORDER AUTHORIZING
THE EMPLOYMENT OF STELZNER, WINTER, WARBURTON, FLORES, SANCHEZ
  & DAWES, P.A. AS SPECIAL COUNSEL FOR THE DEBTOR AND DEBTOR-IN-
                             POSSESSION


       I, Sara N. Sanchez, hereby declare under penalty of perjury, pursuant to Fed. R. Bankr. P.

2014(a) and 2016(b), that to the best of my knowledge and belief, and after reasonable inquiry, the

following is true and correct:

       1.      I am over the age of 18 years, have personal knowledge of the following statements

and am competent to testify to the following statements.

       2.      I am admitted to and practice before the bar in the state of New Mexico, as well as

the United States District Court for the State of New Mexico, and the United States Court of

Appeals for the Tenth Circuit. I am a member in good standing in each of those bars. I have been

licensed to practice law since 2002. I am a Director in the law firm of Stelzner, Winter, Warburton,

Flores, Sanchez & Dawes, P.A. (“Stelzner”).

       3.      I am duly authorized by Stelzner to make all statements which I have made herein

on behalf of Stelzner and with respect to the Debtor’s Application to Employ Stelzner, Winter,

Warburton, Flores, Sanchez & Dawes, P.A. as Special Counsel for the Debtor and Debtor-In-

Possession (the “Application”) (Doc. No. 15) filed on December 3, 2018.




Case 18-13027-t11       Doc 133     Filed 03/21/19      Entered 03/21/19 14:56:51 Page 1 of 6
       4.      This document supplements the Verified Disclosure of Sara N. Sanchez in

Connection with Debtor’s Application for an Order Authorizing the Employment of Stelzner,

Winter, Warburton, Flores, Sanchez & Dawes, P.A. as Special Counsel for the Debtor and Debtor-

in-Possession (“Verified Disclosure”) (Doc. No. 15-1) filed on December 3, 2018. The Verified

Disclosure is herein incorporated by this reference.

       5.      Since the time I made the Verified Disclosure additional information regarding

payments received from the Debtor and certain third-party insurance carriers has been discovered

that warrant filing of this supplemental verified disclosure.

       5.      I am filing this supplemental disclosure in support of the Application. To the extent

that any information disclosed herein requires amendment or modification upon Stelzner’s

completion of further analysis or as additional creditor information becomes available to it, a

supplemental declaration will be submitted to the Court reflecting the same.

       6.      In the twelve months prior to the Petition Date, Stelzner received $407,458.69 from

the Debtor and $417,062.67 from certain insurance carriers as set forth on Exhibit A.

       7.      The Debtor does not owe Stelzner any amounts for legal services rendered before

the Petition Date.

       8.      On the Petition Date, Stelzner was owed $21,421.33 from the insurance carriers for

legal services rendered before the Petition Date. See Exhibit B.

       9.      Stelzner has received $14,330.13 from the insurance carriers post-petition in

payment for the pre-petition amounts due from the insurance carriers. See Exhibit B.

       10.     I make the statements contained herein to provide full disclosure.

The undersigned verifies under penalty of perjury that the above is true and correct.




                                                -2-

Case 18-13027-t11       Doc 133      Filed 03/21/19     Entered 03/21/19 14:56:51 Page 2 of 6
       DATED: March 21, 2019


                                                     /s/ Sara N. Sanchez
                                                     SARA N. SANCHEZ

                                                     FILED BY:
                                                     WALKER & ASSOCIATES, P.C.
                                                  By: /s/filed electronically
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                                               Counsel for Debtor in Possession

CERTIFICATE OF SERVICE
In accordance with NM LBR 9036-1 and Fed.
R. Civ. P. 5(b)(3), this certifies that service of
the foregoing document was served this 21st day
of March 2019, via the notice transmission
facilities of the case management and electronic
filing system of the Bankruptcy Court.

/s/ Stephanie L. Schaeffer
Stephanie L. Schaeffer
Counsel for Debtor in Possession




                                                 -3-

Case 18-13027-t11        Doc 133      Filed 03/21/19     Entered 03/21/19 14:56:51 Page 3 of 6
                                         EXHIBIT A

 PAYMENTS MADE FROM THE DEBTOR AND INSURANCE CARRIERS TO STELZNER IN THE YEAR PRIOR TO THE
                                     PETITION DATE

Date Received    Date Posted           Amount Payed        Payor
12/22/17         12/22/2017            $29,038.52          Archdiocese of Santa Fe
01/16/18         1/16/2018             $531.06             Archdiocese of Santa Fe
01/26/18         1/26/2018             $8,219.18           Archdiocese of Santa Fe
02/26/18         2/26/2018             $15,063.99          Archdiocese of Santa Fe
03/29/18         3/29/2018             $18,452.35          Archdiocese of Santa Fe
4/12/2018        4/12/2018             $1,191.90           Archdiocese of Santa Fe
4/27/2018        4/27/2018             $14,905.54          Archdiocese of Santa Fe
5/30/2018        5/30/2018             $24,274.28          Archdiocese of Santa Fe
6/29/2018        6/28/2018             $16,326.51          Archdiocese of Santa Fe
7/23/2018        7/23/2018             $3,009.24           Archdiocese of Santa Fe
8/2/2018         7/31/2018             $26,617.02          Archdiocese of Santa Fe
8/30/2018        8/30/2018             $81,496.68          Archdiocese of Santa Fe
10/2/2018        9/30/2018             $85,447.34          Archdiocese of Santa Fe
10/19/2018       10/19/2018            $29,082.62          Archdiocese of Santa Fe
11/21/2018       11/21/2018            $30,703.61          Archdiocese of Santa Fe
11/30/2018       11/30/2018            $22,316.75          Archdiocese of Santa Fe
12/3/2018        11/30/2018            $782.10             Archdiocese of Santa Fe
Subtotal                               $407,458.69
02/01/18         1/31/2018             $4,661.88           Arrowpoint Ins. Co.
5/16/2018        5/16/2018             $15,181.23          Arrowpoint Ins. Co.
8/16/2018        8/16/2018             $5,532.02           Arrowpoint Ins. Co.
11/16/2018       11/16/2018            $12,586.32          Arrowpoint Ins. Co.
Subtotal                               $37,961.45
12/21/17         12/21/2017            $989.00             Catholic Mutual Relief Society
01/03/18         1/3/2018              $2,124.24           Catholic Mutual Relief Society
03/30/18         3/30/2018             $16,188.96          Catholic Mutual Relief Society
4/10/2018        3/31/2018             $1,786.60           Catholic Mutual Relief Society
4/10/2018        3/31/2018             $4,767.62           Catholic Mutual Relief Society
4/18/2018        4/16/2018             $6,977.90           Catholic Mutual Relief Society
6/27/2018        6/27/2018             $8,645.15           Catholic Mutual Relief Society
7/2/2018         6/30/2018             $181.57             Catholic Mutual Relief Society
7/3/2018         6/30/2018             $16,756.58          Catholic Mutual Relief Society
7/17/2018        7/17/2018             $16,334.82          Catholic Mutual Relief Society
10/5/2018        9/30/2018             $3,020.50           Catholic Mutual Relief Society
10/12/2018       10/12/2018            $6,223.58           Catholic Mutual Relief Society
10/29/2018       10/29/2018            $7,124.19           Catholic Mutual Relief Society
11/7/2018        11/7/2018             $5,277.96           Catholic Mutual Relief Society
Subtotal                               $96,398.67
8/30/2018        8/30/2018             $1,763.00           Contienental Casualty Co.
Subtotal                               $1,763.00
12/14/17         12/14/2017            $689.78             Great American Insurance Company
01/22/18         1/22/2018             $4,026.00           Great American Insurance Company

   Case 18-13027-t11    Doc 133    Filed 03/21/19     Entered 03/21/19 14:56:51 Page 4 of 6
02/23/18       2/23/2018            $2,326.59              Great American Insurance Company
03/29/18       3/27/2018            $1,759.20              Great American Insurance Company
03/29/18       3/27/2018            $317.07                Great American Insurance Company
03/29/18       3/27/2018            $1,676.36              Great American Insurance Company
3/29/2018      3/27/2018            $163.40                Great American Insurance Company
3/29/2018      3/27/2018            $365.50                Great American Insurance Company
4/27/2018      4/27/2018            $500.84                Great American Insurance Company
4/27/2018      4/27/2018            $1,767.68              Great American Insurance Company
4/27/2018      4/27/2018            $1,495.41              Great American Insurance Company
5/1/2018       4/30/2018            $2,114.84              Great American Insurance Company
5/31/2018      5/31/2018            $2,512.55              Great American Insurance Company
6/19/2018      6/19/2019            $1,122.06              Great American Insurance Company
6/28/2018      6/28/2018            $5,095.70              Great American Insurance Company
7/24/2018      7/24/2018            $4,653.03              Great American Insurance Company
8/27/2018      8/27/2018            $2,798.83              Great American Insurance Company
10/5/2018      9/30/2018            $6,160.11              Great American Insurance Company
10/29/2018     10/29/2018           $161.83                Great American Insurance Company
11/20/2018     11/20/2018           $486.85                Great American Insurance Company
Subtotal                            $40,193.63
01/03/18       12/29/2017           $20,059.70             Riverstone Ins. Co.
5/16/2018      5/16/2018            $27,688.41             Riverstone Ins. Co.
7/9/2018       7/9/2018             $18,802.90             Riverstone Ins. Co.
8/16/2018      8/16/2018            $1,270.01              Riverstone Ins. Co.
10/23/2018     10/23/2018           $16,721.47             Riverstone Ins. Co.
Subtotal                            $84,542.49
12/12/17       12/12/2017           $18,025.28             Travelers
03/06/18       3/6/2018             $16,083.27             Travelers
4/10/2018      3/31/2018            $19,804.00             Travelers
6/27/2018      6/27/2018            $25,526.35             Travelers
8/8/2018       7/31/2018            $22,900.35             Travelers
11/6/2018      10/31/2018           $53,864.18             Travelers
Subtotal                            $156,203.43
Total                                        $824,521.36




   Case 18-13027-t11   Doc 133   Filed 03/21/19   Entered 03/21/19 14:56:51 Page 5 of 6
                                              EXHIBIT B
   Pre-Petition Amounts Due from Insurance Carriers and Post-Petition Payments from Insurance
                                            Carriers

                                                            Amount Paid Post-       Amount Paid Post-
                                 Outstanding Receivable     Petition and Held in    Petition and
Insurance Carrier                As of Petition Date        Trust                   Applied to Invoice
St. Paul Fire & Marine/Travelers $               2,922.51    $           2,922.51    $            -
Arrowpoint Insurance Co.          $              1,438.90    $           1,432.50    $            -
Catholic Mutual Insurance Co.     $             13,526.34    $           1,505.93    $       4,935.61
Great American Insurance Co.      $              1,298.54    $           1,298.54    $            -
Riverstone Insurance Co.          $              2,235.04    $                 -     $       2,235.04
Total                             $             21,421.33    $           7,159.48    $       7,170.65


Total Due on the Petition Date from Insurance Carriers for Pre-petition Services    $      21,421.33

Total Received Post-Petition from Insurance Carriers for Pre-petition Services      $      14,330.13




    Case 18-13027-t11        Doc 133      Filed 03/21/19      Entered 03/21/19 14:56:51 Page 6 of 6
